UNITED S`TATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
UNITED STATES OF AMERICA )
) No. 3218-CR~037
v. )
) JUDGES VARLAN/GUYTON
RHONDA G. PEEBLES )

MOTION TO UNSEAL

The United States of America, by and through the United States Attorney for the Eastern
District of Tennessee, hereby files this motion to unseal the Indictment as to Rhonda G. Peeble‘s.
The above-named defendant Was arrested on or about June l9, 2018, and is now in federal
custody in the Western Distrlct of Missouri.

Wherefore, the undersigned moves to unseal the Indictment in order to provide the U.S.
Attorney’s Office for the Western District of Missouri a copy of the Indictment filed in this case.

J. DOUGLAS OVERBEY

UNITED STATES ATTORNEY

By: s/ Carvn L. Hebets
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